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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                       )
                                               )
v.                                             )       CRIMINAL NO. 21-cr-00451-CJN
                                               )
SUZANNE IANNI,                                 )
    Defendant                                  )

              MOTION TO WITHDRAW – ADDENDUM – PERMIT LOCAL
                COUNSEL (KIRA ANNE WEST) TO WITHDRAW


       Now comes undersigned counsel under Local Criminal Rule 44.5(e) in
addition to the previously filed motion to withdraw (Doc. No. 59) and requests that
the Court permit local counsel – Kira Anne West – to withdraw.
       Attorney West sponsored undersigned counsel’s Pro Hac Vice appearance.



                                                              Respectfully submitted,
                                                              SUZANNE IANNI,
                                                              By her attorney,
                                                              Pro Hac Vice

Date: December 14, 2022
                                                              /s/ Henry Fasoldt
                                                              C. Henry Fasoldt, BBO# 667422
                                                              185 Devonshire Street, Ste. 302
                                                              Boston, MA 02110
                                                              henry@bostondefenselaw.com
                                                              617-338-0009 – office


                                  CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent electronically
to the registered participants as identified on the Notice of Electronic Filing (NEF) on this date,
December 14, 2022

                                                              /s/ Henry Fasoldt
                                                              Henry Fasoldt
